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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNTIED STATES OF AMERICA,

           Plaintiff,
                                                       Case No. 05-80722
v.
                                                       Honorable Patrick J. Duggan
GREGORY McCLAIN,

           Defendant.
                                         /

                  ORDER DENYING DEFENDANT’S MOTION
               FOR AN ORDER COMPELLING DEFENSE COUNSEL
           TO PROVIDE DEFENDANT WITH A COPY OF HIS CASE FILES

                          At a session of said Court, held in the U.S.
                            District Courthouse, Eastern District
                               of Michigan, on August 4, 2009.

           PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                              U.S. DISTRICT COURT JUDGE

           On June 16, 2009, Defendant filed a motion requesting this Court to compel defense

counsel “to provide him with a full and complete copy of the defense files in this case,

including discovery, or to explain why he cannot do so.” (Def. Mot. at 1.) Steven Fishman,

Defendant’s former defense counsel and the individual to whom this motion is directed, has

filed a response1 in which he states:

              1. He has no discovery materials.


       1
         Because Mr. Fishman’s response only indicates that a copy of his response was
sent to Mr. Waterstreet and does not indicate that a copy was sent to Defendant, this
Court is, on this date, sending a copy of Mr. Fishman’s response to Defendant
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        2. That he is willing to provide copies of the documents in his possession, i.e.,

            copies of Defendant’s indictment, his plea agreement, and the presentence

            report.

     Defense counsel further states that he mailed copies of these documents to Defendant’s

wife at Defendant’s request, but “on information and belief, Mrs. McClain had moved to a

different address and did not receive the document.” (Resp. ¶ 23.)

     Mr. Fishman states that he is willing to provide these documents if, and when, he is

informed as to exactly where the documents should be mailed. Therefore, Mr. McClain

should write to Mr. Fishman and advise him where the documents should be sent. Mr.

McClain shall furnish the Court with a copy of the letter that he sends to Mr. Fishman.

     Based on Mr. Fishman’s willingness to provide Mr. McClain with all the documents

in his possession, the Court sees no need to issue any order compelling Mr. Fishman to

provide any documents at this time.

     Therefore, for the reasons set forth above, Defendant’s motion is DENIED.



                                                s/PATRICK J. DUGGAN
                                                UNITED STATES DISTRICT JUDGE
Copies to:
Gregory McClain #40609-039
FCI Fort Worth
P.O. Box 15330
Fort Worth, Texas 76119

Steven Fishman, Esq.
Ronald Waterstreet, AUSA


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